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    7

    8                      UNITED STATES DISTRICT COURT
    9       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   10

   11   SONOS, INC.,                          Case No. 2:20-cv-00169-JAK (DFMx)
   12               Plaintiff,
                                              GOOGLE’S COUNTERCLAIMS
   13         vs.                             TO SONOS’S COMPLAINT
   14                                         JURY TRIAL DEMANDED
        GOOGLE LLC,
   15
                    Defendant.                Judge: Hon. John A. Kronstadt
   16
                                              Complaint Filed: Jan. 7, 2020
   17

   18   GOOGLE LLC,
   19               Counterclaimant,
   20         vs.
   21
        SONOS INC.,
   22
                    Counterclaim-Defendant.
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    1        Defendant and Counterclaimant Google LLC (“Google”) hereby alleges the
    2 following counterclaims against Plaintiff and Counterclaim Defendant Sonos, Inc.

    3 (“Sonos”):

    4                                 INTRODUCTION
    5        1.    Google was founded in 1998 with the goal of organizing the world’s
    6 information and making it universally accessible and useful.

    7        2.    Over the past two decades, in service of that goal, Google has become
    8 one of the world’s most innovative companies.

    9        3.    Google’s revolutionary advances in search, mobile computing,
   10 machine learning, artificial intelligence, and voice-assisted technologies have

   11 changed millions of lives.

   12        4.    Google continues to make information universally accessible and
   13 useful at the household level, through advanced voice recognition, search, and media

   14 playback technologies in its Google Home, Google Nest, and Chromecast products.

   15        5.    Sonos’s complaint uses revisionist history to attack Google’s
   16 innovative software and hardware products. Google did not obtain “deep” access to

   17 Sonos technology and then develop the Google products at issue; in fact, Google

   18 launched Chromecast before Google and Sonos ever agreed to collaborate.

   19        6.    When Google and Sonos did collaborate, Sonos asked Google for
   20 assistance, so that Sonos could employ Google technology to improve Sonos’s

   21 products–not the other way around.

   22        7.    In 2013, Sonos asked for Google’s assistance integrating Sonos directly
   23 with Google’s popular Play Music service.

   24        8.    Google gave Sonos that assistance, and provided significant
   25 engineering resources, technical support, and other resources to integrate Sonos’s

   26 products with Google’s Play Music service in 2014.

   27        9.    As Wired observed in 2014, this was a huge benefit to Sonos, whose
   28 products were suffering from a lack of integration with easy-to-use software

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    1 interfaces: the collaboration was “a strong indicator of how vital it is these days for

    2 hardware [to] be imbued with relevant, easy-to-use software,” because “[i]t’s not

    3 enough that Sonos can connect to the Internet over your home Wi-Fi network. It

    4 needs to work seamlessly with your favorite music streaming apps.” Exhibit 13

    5 (emphasis added).

    6        10.      In 2016, Sonos again asked for Google’s assistance–this time to
    7 integrate Google’s innovative Assistant software with Sonos devices. And again,

    8 Google was willing to help.

    9        11.      Google gave Sonos significant assistance designing, implementing, and
   10 testing a solution that would bring Google’s voice recognition software to Sonos’s

   11 devices.

   12        12.      This effort again involved significant Google engineering resources,
   13 including significant months of employee work time, for the initial launch of

   14 Google’s Assistant on Sonos’s products in May 2019.

   15        13.      Sonos seems to think no good deed should go unpunished. In exchange
   16 for the assistance Sonos received from Google to help improve Sonos’s products,

   17 Sonos now sues Google asking for damages and an injunction.

   18        14.      But there is no basis for Sonos’s claims. The technologies Google uses
   19 were all independently developed by Google. They are not technologies Google

   20 took from Sonos, and they are not the technologies described in the five patents

   21 Sonos asserts.

   22        15.      The five asserted patents describe older technologies–not the advanced
   23 technologies Google uses.       In fact, the technologies described in Sonos’s five
   24 asserted patents were not even first developed by Sonos.

   25        16.      The ideas in those patents were not new; they were already known in
   26 the field, and were obvious and dated by the time Sonos applied for each of these

   27 five patents.

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    1        17.    The technologies in these five patents do not reflect the design of
    2 modern wireless audio devices.

    3        18.    Indeed, it appears Sonos itself does not even use these technologies in
    4 its modern devices.

    5                                    THE PARTIES
    6        19.    Upon information and belief, Sonos is a Delaware corporation with its
    7 principal place of business at 614 Chapala Street, Santa Barbara, California 93101.

    8        20.    Google LLC is a Delaware limited liability company with a principal
    9 place of business at 1600 Amphitheatre Parkway, Mountain View, CA 94043.

   10                           JURISDICTION AND VENUE
   11        21.    This is a civil action regarding allegations of patent infringement
   12 arising under the patent laws of the United States, Title 35 of the United States Code,

   13 in which Google seeks relief under the Declaratory Judgment Act. This Court has

   14 subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1338,

   15 2201, and 2202.

   16        22.    The Court has personal jurisdiction and venue over Sonos because it
   17 consented to personal jurisdiction and venue by filing the Complaint in this action.

   18                                       COUNT I:
   19      DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO.
   20                                        8,588,949
   21        23.    The allegations of the preceding counterclaim paragraphs above are
   22 incorporated by reference as if fully set forth herein.

   23        24.    Google does not infringe and has not infringed (either directly,
   24 contributorily, or by inducement), either literally or under the doctrine of

   25 equivalents, and is not liable for infringement of any valid and enforceable claim of

   26 the ’949 patents.

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    1        25.    Sonos is not entitled to any relief of any claim in the Complaint for at
    2 least the reasons in Google’s Answer and Counterclaims, including Google’s

    3 affirmative defenses.

    4        26.    Absent a declaration of non-infringement of the ’949 patent, Sonos will
    5 continue to assert it against Google and will, in this way, continue to cause damage

    6 to Google.

    7        27.    To resolve the issues raised by Sonos and to afford relief from
    8 uncertainty and controversy that Sonos’s allegations have created, Google is entitled

    9 to declaratory judgment that it has not infringed and is not infringing any valid and

   10 enforceable claim of the ’949 patent.

   11        28.    Accordingly, Google seeks a declaration that the claims of the ’949
   12 patent are not infringed.

   13                                      COUNT II:
   14      DECLARATION OF INVALIDITY OF U.S. PATENT NO. 8,588,949
   15        29.    The allegations of the preceding counterclaim paragraphs above are
   16 incorporated by reference as if fully set forth herein.

   17        30.    Each asserted claim of the ’949 patent is invalid for failure to comply
   18 with one or more of the requirements of United States Code, Title 35, including

   19 without limitation, 35 U.S.C. §§ 101, 102, 103, and/or 112, the non-statutory

   20 doctrine of double patenting, improper inventorship, and the rules, regulations, and

   21 laws pertaining thereto.

   22        31.    The claims of the ’949 patent are directed to an abstract idea without
   23 any inventive concept, and therefore claim subject matter that is ineligible for

   24 patenting.

   25        32.    The claims of the ’949 patent lack novelty and are taught and suggested
   26 by the prior art and/or are obvious in view of the prior art.

   27        33.    The claims of the ’949 patent contain obviousness-type double
   28 patenting.

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    1        34.     The claims of the ’949 patent fail to include an adequate written
    2 description, lack enablement, and/or are indefinite.

    3        35.     To resolve the issues raised by Sonos and to afford relief from
    4 uncertainty and controversy that Sonos’s allegations have created, Google is entitled

    5 to declaratory judgment that the claims of the ’949 patent are not valid and

    6 enforceable.

    7                                      COUNT III:
    8      DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO.
    9                                        9,195,258
   10        36.     The allegations of the preceding counterclaim paragraphs above are
   11 incorporated by reference as if fully set forth herein.

   12        37.     Google does not infringe and has not infringed (either directly,
   13 contributorily, or by inducement), either literally or under the doctrine of

   14 equivalents, and is not liable for infringement of any valid and enforceable claim of

   15 the ’258 patents.

   16        38.     Sonos is not entitled to any relief of any claim in the Complaint for at
   17 least the reasons in Google’s Answer and Counterclaims, including Google’s

   18 affirmative defenses.

   19        39.     Absent a declaration of non-infringement of the ’258 patent, Sonos will
   20 continue to assert it against Google and will, in this way, continue to cause damage

   21 to Google.

   22        40.     To resolve the issues raised by Sonos and to afford relief from
   23 uncertainty and controversy that Sonos’s allegations have created, Google is entitled

   24 to declaratory judgment that it has not infringed and is not infringing any valid and

   25 enforceable claim of the ’258 patent.

   26        41.     Accordingly, Google seeks a declaration that the claims of the ’258
   27 patent are not infringed.

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    1                                      COUNT IV:
    2      DECLARATION OF INVALIDITY OF U.S. PATENT NO. 9,195,258
    3        42.     The allegations of the preceding counterclaim paragraphs above are
    4 incorporated by reference as if fully set forth herein.

    5        43.     Each asserted claim of the ’258 patent is invalid for failure to comply
    6 with one or more of the requirements of United States Code, Title 35, including

    7 without limitation, 35 U.S.C. §§ 101, 102, 103, and/or 112, the non-statutory

    8 doctrine of double patenting, improper inventorship, and the rules, regulations, and

    9 laws pertaining thereto.

   10        44.     The claims of the ’258 patent are directed to an abstract idea without
   11 any inventive concept, and therefore claim subject matter that is ineligible for

   12 patenting.

   13        45.     The claims of the ’258 patent lack novelty and are taught and suggested
   14 by the prior art and/or are obvious in view of the prior art.

   15        46.     The claims of the ’258 patent contain obviousness-type double
   16 patenting.

   17        47.     The claims of the ’258 patent fail to include an adequate written
   18 description, lack enablement, and/or are indefinite.

   19        48.     To resolve the issues raised by Sonos and to afford relief from
   20 uncertainty and controversy that Sonos’s allegations have created, Google is entitled

   21 to declaratory judgment that the claims of the ’258 patent are not valid and

   22 enforceable.

   23                                      COUNT V:
   24      DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO.
   25                                        9,219,959
   26        49.     The allegations of the preceding counterclaim paragraphs above are
   27 incorporated by reference as if fully set forth herein.

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    1        50.    Google does not infringe and has not infringed (either directly,
    2 contributorily, or by inducement), either literally or under the doctrine of

    3 equivalents, and is not liable for infringement of any valid and enforceable claim of

    4 the ’959 patents.

    5        51.    Sonos is not entitled to any relief of any claim in the Complaint for at
    6 least the reasons in Google’s Answer and Counterclaims, including Google’s

    7 affirmative defenses.

    8        52.    Absent a declaration of non-infringement of the ’959 patent, Sonos will
    9 continue to assert it against Google and will, in this way, continue to cause damage

   10 to Google.

   11        53.    To resolve the issues raised by Sonos and to afford relief from
   12 uncertainty and controversy that Sonos’s allegations have created, Google is entitled

   13 to declaratory judgment that it has not infringed and is not infringing any valid and

   14 enforceable claim of the ’959 patent.

   15        54.    Accordingly, Google seeks a declaration that the claims of the ’959
   16 patent are not infringed.

   17                                      COUNT VI:
   18      DECLARATION OF INVALIDITY OF U.S. PATENT NO. 9,219,959
   19        55.    The allegations of the preceding counterclaim paragraphs above are
   20 incorporated by reference as if fully set forth herein.

   21        56.    Each asserted claim of the ’959 patent is invalid for failure to comply
   22 with one or more of the requirements of United States Code, Title 35, including

   23 without limitation, 35 U.S.C. §§ 101, 102, 103, and/or 112, the non-statutory

   24 doctrine of double patenting, improper inventorship, and the rules, regulations, and

   25 laws pertaining thereto.

   26        57.    The claims of the ’959 patent are directed to an abstract idea without
   27 any inventive concept, and therefore claim subject matter that is ineligible for

   28 patenting.

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    1        58.     The claims of the ’959 patent lack novelty and are taught and suggested
    2 by the prior art and/or are obvious in view of the prior art.

    3        59.     The claims of the ’959 patent contain obviousness-type double
    4 patenting.

    5        60.     The claims of the ’959 patent fail to include an adequate written
    6 description, lack enablement, and/or are indefinite.

    7        61.     To resolve the issues raised by Sonos and to afford relief from
    8 uncertainty and controversy that Sonos’s allegations have created, Google is entitled

    9 to declaratory judgment that the claims of the ’959 patent are not valid and

   10 enforceable.

   11                                      COUNT VII:
   12      DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO.
   13                                       10,209,953
   14        62.     The allegations of the preceding counterclaim paragraphs above are
   15 incorporated by reference as if fully set forth herein.

   16        63.     Google does not infringe and has not infringed (either directly,
   17 contributorily, or by inducement), either literally or under the doctrine of

   18 equivalents, and is not liable for infringement of any valid and enforceable claim of

   19 the ’953 patents.

   20        64.     Sonos is not entitled to any relief of any claim in the Complaint for at
   21 least the reasons in Google’s Answer and Counterclaims, including Google’s

   22 affirmative defenses.

   23        65.     Absent a declaration of non-infringement of the ’953 patent, Sonos will
   24 continue to assert it against Google and will, in this way, continue to cause damage

   25 to Google.

   26        66.     To resolve the issues raised by Sonos and to afford relief from
   27 uncertainty and controversy that Sonos’s allegations have created, Google is entitled

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     1 to declaratory judgment that it has not infringed and is not infringing any valid and

     2 enforceable claim of the ’953 patent.

     3        67.     Accordingly, Google seeks a declaration that the claims of the ’953
     4 patent are not infringed.

     5                                     COUNT VIII:
     6      DECLARATION OF INVALIDITY OF U.S. PATENT NO. 10,209,953
     7        68.     The allegations of the preceding counterclaim paragraphs above are
     8 incorporated by reference as if fully set forth herein.

     9        69.     Each asserted claim of the ’953 patent is invalid for failure to comply
    10 with one or more of the requirements of United States Code, Title 35, including

    11 without limitation, 35 U.S.C. §§ 101, 102, 103, and/or 112, the non-statutory

    12 doctrine of double patenting, improper inventorship, and the rules, regulations, and

    13 laws pertaining thereto.

    14        70.     The claims of the ’953 patent are directed to an abstract idea without
    15 any inventive concept, and therefore claim subject matter that is ineligible for

    16 patenting.

    17        71.     The claims of the ’953 patent lack novelty and are taught and suggested
    18 by the prior art and/or are obvious in view of the prior art.

    19        72.     The claims of the ’953 patent contain obviousness-type double
    20 patenting.

    21        73.     The claims of the ’953 patent fail to include an adequate written
    22 description, lack enablement, and/or are indefinite.

    23        74.     To resolve the issues raised by Sonos and to afford relief from
    24 uncertainty and controversy that Sonos’s allegations have created, Google is entitled

    25 to declaratory judgment that the claims of the ’953 patent are not valid and

    26 enforceable.

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     1                                      COUNT XI:
     2      DECLARATION OF NON-INFRINGEMENT OF U.S. PATENT NO.
     3                                       10,439,896
     4        75.    The allegations of the preceding counterclaim paragraphs above are
     5 incorporated by reference as if fully set forth herein.

     6        76.    Google does not infringe and has not infringed (either directly,
     7 contributorily, or by inducement), either literally or under the doctrine of

     8 equivalents, and is not liable for infringement of any valid and enforceable claim of

     9 the ’896 patents.

    10        77.    Sonos is not entitled to any relief of any claim in the Complaint for at
    11 least the reasons in Google’s Answer and Counterclaims, including Google’s

    12 affirmative defenses.

    13        78.    Absent a declaration of non-infringement of the ’896 patent, Sonos will
    14 continue to assert it against Google and will, in this way, continue to cause damage

    15 to Google.

    16        79.    To resolve the issues raised by Sonos and to afford relief from
    17 uncertainty and controversy that Sonos’s allegations have created, Google is entitled

    18 to declaratory judgment that it has not infringed and is not infringing any valid and

    19 enforceable claim of the ’896 patent.

    20        80.    Accordingly, Google seeks a declaration that the claims of the ’896
    21 patent are not infringed.

    22                                      COUNT X:
    23      DECLARATION OF INVALIDITY OF U.S. PATENT NO. 10,439,896
    24        81.    The allegations of the preceding counterclaim paragraphs above are
    25 incorporated by reference as if fully set forth herein.

    26        82.    Each asserted claim of the ’896 patent is invalid for failure to comply
    27 with one or more of the requirements of United States Code, Title 35, including

    28 without limitation, 35 U.S.C. §§ 101, 102, 103, and/or 112, the non-statutory

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     1 doctrine of double-patenting, improper inventorship, and the rules, regulations, and

     2 laws pertaining thereto.

     3        83.     The claims of the ’896 patent are directed to an abstract idea without
     4 any inventive concept, and therefore claim subject matter that is ineligible for

     5 patenting.

     6        84.     The claims of the ’896 patent lack novelty and are taught and suggested
     7 by the prior art and/or are obvious in view of the prior art.

     8        85.     The claims of the ’896 patent contain obviousness-type double
     9 patenting.

    10        86.     The claims of the ’896 patent fail to include an adequate written
    11 description, lack enablement, and/or are indefinite.

    12        87.     To resolve the issues raised by Sonos and to afford relief from
    13 uncertainty and controversy that Sonos’s allegations have created, Google is entitled

    14 to declaratory judgment that the claims of the ’896 patent are not valid and

    15 enforceable.

    16                                PRAYER FOR RELIEF
    17        WHEREFORE, Google respectfully requests that this Court enter judgement
    18 in its favor and against Sonos as follows:

    19        A.      Dismissing the Complaint in its entirety and with prejudice;
    20        B.      Denying all relief that Sonos seeks in its Complaint;
    21        C.      Finding that Google has not infringed, and is not infringing, each of the
    22 patents asserted in the Complaint;

    23        D.      Declaring that the claims of each of the patents asserted in the
    24 Complaint are invalid, unpatentable and/or unenforceable against Google;

    25        E.      Finding this case to be exceptional under 35 U.S.C. § 285 and awarding
    26 Google all reasonable costs, experts’ fees, and attorneys’ fees; and

    27        F.      Awarding such other and further relief that the Court deems just and
    28 equitable.

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     1                           DEMAND FOR JURY TRIAL
     2       Google hereby demands a trial by jury on all issues so triable raised by
     3 Google’s Counterclaims.

     4

     5 DATED: March 11, 2020                Respectfully submitted,
     6                                      QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
     7
                                       By       /s/ Justin Griffin
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    13
                                              Attorneys for Defendant,
    14                                        Google LLC
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